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      UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                No. 2:24-CR-00091-ODW
13
                 Plaintiff,                    STIPULATION REGARDING REQUEST FOR
14                                             (1) CONTINUANCE OF TRIAL DATE AND
                       V.                      (2) FINDINGS OF EXCLUDABLE TIME
15                                             PERIODS PURSUANT TO SPEEDY TRIAL
      ALEXANDER SMIRNOV,                       ACT
16
                 Defendant.                    CURRENT TRIAL DATE: 04/23/2024
17                                             PROPOSED TRIAL DATE: 12/02/2024

18

19

20         Plaintiff United States of America, by and through its counsel of

21    record, the Office of Special Counsel David C. Weiss, and defendant


22    Alexander Smirnov ("defendant"), both individually and by and through

23    his counsel of record, David Z. Chesnoff and Richard A. Schonfeld,

24    hereby stipulate as follows:

25         1. The Indictment in this case was made public on February 15,

26    2024. Defendant was arrested in the District of Nevada on the evening

27    of February 14, 2024, and he first appeared before a judicial officer

28    on the instant charges the following day, February 15, 2024. Defendant
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 1   was transported to this District on February 23, 2024 and had his first

 2   appearance in this District on February 26, 2024. The Speedy Trial

 3   Act, 18 U.S.C. § 3161, originally required that the trial commence on


 4   or before April 25, 2024.

 5            2. On February 26, 2024, the Court set a trial date of April

 6    23, 2024. Dkt. 40 (Criminal Minutes - Arraignment). No date had been

 7    set for a pretrial conference or a discovery cut-off.


              3. Defendant is currently detained pending trial. The parties


 9    estimate that the trial in this matter will last approximately Seven

10    judicial days.

11            4. By this stipulation, the parties move to continue the trial

12    date to December 2, 2024. This is the first request for a continuance.


13            5. The parties requests the continuance based upon the following

14    facts, which the parties believe demonstrate good cause to support the


15    appropriate findings under the Speedy Trial Act:

16                a. Defendant is charged with making a false statement to a


17    government agent in violation of 18 U.S.C. § 1001 (Count 1) and causing

18    the creation of a false record in a federal investigation in violation


19    of 18 U.S.C. §§ 1519 & 2 (Count 2). The government has made an initial

20   production of discovery and will continue to make additional

21   productions in the coming weeks. Defendant has requested, and the


22    government will be producing, among other things, electronic data

23    obtained by the government pursuant to search warrants; one of these


24    datasets alone contains more than 4 million files, and another dataset


25    contains more than 2.5 million files. Of particular note, a substantial


26    portion of the electronic data is in languages other than English.

27    Defendant anticipates having to engage a translator to review certain


28    data.

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 1 || b. Defense counsel are presently scheduled to be in trial

 2 || on the following cases between April 23 and December 2:

 3 || 1. Both Counsel Chesnoff and Schonfeld have trial in the case
                 of United States v. Zafaranchi, Case Number CR-22-122, in
 ^ II the United States District Court for the Western District of
                 Washington, set to commence on September 16, 2024. The
                 Presiding Judge is the Honorable John C. Coughenour. It is
 g II anticipated that said trial will last several weeks as the
                 Defendants are charged with Conspiracy to Commit Wire Fraud,
 7 || Wire Fraud, Money Laundering, and Destruction of Records.
                 The Indictment in this case was returned on August 18, 2022.
                 There have been two trial continuances. This case has been
                 set for trial since July 17, 2023, and it is not anticipated
                 that any continuance will be requested;

10
                 Both Counsel Chesnoff and Counsel Schonfeld have trial in
11               the case of United States v. Halajyan, Case Number 2:22-cr-
                 00002-RBF-EJY, in the United States District Court for the
12               District of Nevada/ set to commence on October 7, 2024. The
                 Presiding Judge is the Honorable Richard Boulware. It is
13               anticipated that this trial will last one week. The
                 Defendant is charged with Conspiracy to Make a False
14
                 Statement in Acquisition of Firearms and False Statement in

15               Acquisition of Firearms. This trial has been continued six
                 times and it is not anticipated that another continuance will
16               be sought;

17
                 Counsel Schonfeld has trial in the case of Howard v. Howard,
18
                 Case Number D554036, in the California Superior Court, San
19               Diego, set to proceed on June 10, 2024 and June 12, 2024.
                 This is a contempt of court trial. The presiding Judge is
20               the Honorable Euketa Oliver. This trial has been set since
                 late 2023 and involves child custody. The family court trial
21               calendars are congested in this Court and therefore it is
                 not anticipated that any continuance will be requested;


                 Counsel Schonfeld has trial in the case of Howard v. Howard,
23
                 Case Number D554036, in the California Superior Court, San
24               Diego, set to proceed on a different trial issue on June 17,
                 June 18, and November 7. This is a trial related to
25               protective orders and child custody. The presiding Judge is
                 the Honorable Kimberly Parker. The first two days of this
26               trial have been set since late 2023 and involve child
                 custody. The family court trial calendars are congested in
27
                 this Court and therefore it is not anticipated that any
28               continuance will be requested;


                                            3
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 1               Counsel Schonfeld has trial in the case of State of Nevada
                 v. Warrender, Case Number C-23-376950, in the Eighth Judicial
 2               District Court, State of Nevada, set to proceed on June 24,
                 2024. The presiding Judge is the Honorable Danielle Chio.
 3
                 This is a trial where the Defendant is charged with Attempted
 4               Murder with a Deadly Weapon, Assault with a Deadly Weapon,
                 and Discharging a Firearm. This trial will likely last a
 5               between one and two weeks. The Indictment in this case was
                 returned on September 13, 2023, and the trial has been
 6               continued one time. There is a possibility that this trial
                 will be continued; however, no such dialogue has been engaged
 7               in by the parties at this time;

 8
                 Counsel Schonfeld has trial in the case of United States v.
 9               Cardone, Case Number 2:23-cr-20598-BAF-DRG, set to proceed
                 on August 13, 2024. The presiding Judge is the Honorable
10               Bernard A. Friedman. This is a trial where the Defendant is
                 charged with Conspiracy to Commit Wire Fraud. This trial
11               will likely last one week. This trial has been continued
                 twice and is likely to proceed as scheduled;
12

13               Counsel Schonfeld has trial in the case of State of Nevada
                 v. Kayarath, Case Number C-23-374424-1, in the Eighth
14               Judicial District Court, State of Nevada, set to proceed on
                 August 19, 2024. This trial is on a "stack" meaning that it
15               will not necessarily proceed on August 19, 2024, but will
                 proceed within weeks of that date, especially in light of
16
                 the Cardone trial being scheduled for one week earlier. The

17               presiding Judge is the Honorable Ronald Israel. This is a
                 trial where the Defendant is charged with Attempted Murder
18               with Use of a Deadly Weapon, Battery Resulting in Substantial
                 Bodily Harm, Assault with a Deadly Weapon, Discharging a
19               Firearm, and Possession of a Firearm by a Prohibited Person,
                 Trafficking in Controlled Substance, and Possession of a
20
                 Controlled Substance with Intent to Sell. This trial will
                 likely last more than one week. The Indictment in this case
21
                 was returned on June 2, 2023, and the trial has been continued
22               one time. The Defendant is in custody and it is difficult
                 to anticipate if this trial will be continued. The Parties
23               have not engaged in any dialogue regarding a trial
                 continuance; however, they have requested a judicial
24
                 settlement conference;

25
                 Counsel Schonfeld has trial in the case of United States
26               Securities Exchange Commission v. Collector''s Coffee, Inc.
                 et al. Case Number 19-cv-04355, in the United States District
27               Court for the Southern District of New York, set to proceed
                 on October 21, 2024. The Presiding Judge is the Honorable
28               Victor Marrero. In this case Counsel Schonfeld represents

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 1 || the intervenor Plaintiffs against the Defendants and
                  Intervenor Defendants related to a property dispute of
 2 || significant value. The case is complex, given the parties
                  involved, the intervenor nature of the trial, and the history
            of the litigation. Summary Judgment proceedings have
 4 || concluded related to the Intervenor claims, the SEC trial
                  concluded, and the Court has set the Intervenor case for
 5 || trial. This trial will likely last two weeks. Counsel
            Schonfeld on behalf of his three Intervenor Plaintiff clients
 10 requested an October trial date by way of pleading on
                  February 9, 2024. Accordingly, absent some unanticipated
                  event. Counsel Schonfeld will not be seeking a continuance
                  of this trial. The Intervenor Complaint was filed on
                  September 9, 2019.
 9

10
                  c. In light of the foregoing, counsel for defendant also
11
        represent that additional time is necessary to confer with defendant,
12
        conduct and complete an independent investigation of the case, conduct
13
        and complete additional legal research including for potential pre-
14 ||
        trial motions, review the discovery and potential evidence in the case,
15
        and prepare for trial in the event that a pretrial resolution does not
16
        occur. Defense counsel represent that failure to grant the continuance
17
        would deny them reasonable time necessary for effective preparation,
18
        taking into account the exercise of due diligence.
19
                  d. In addition to the above, the government has invoked
20
        the Classified Information Procedures Act ("CIPA"), apprising the Court
21
        that it "need[s] to bring to the Court's attention certain discovery
22
        issues or other matters relating to classified material." Dkt. 48.
23
        As part of that process, defense counsel are working with the Court-
24
        appointed Classified Information Security Officer ("CISO") to obtain
25
        the necessary security clearances. Furthermore, considering the CIPA-
26
        related issues that may arise in this case, the government has developed
27

28
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 1 11 what it believes is a reasonable schedule to accommodate CIPA

 2 |[ litigation.

 3 || e. Defendant believes that failure to grant the continuance

 4 || will deny him continuity of counsel and adequate representation.

 5 || f. The government does not object to the continuance.


 6                g. The requested continuance is not based on congestion of

 7    the Court's calendar, lack of diligent preparation on the part of the


      attorney for the government or the defense, or failure on the part of


 9    the attorney for the Government to obtain available witnesses.


10         6. The parties propose the following additional briefing and

11    hearing dates:

12                a. Briefing:


13                     i. Governmenfs Initial CIPA Section 4 filing: June

14    24, 2024.

15                     ii. Defendant's CIPA Section 5 notice: July 29, 2024

16    or no later than two weeks after the Court's ruling on the Government's


17    CIPA Section 4 filing (whichever is later).

18                     iii. Defendant's Motions: August 19, 2024.1


19                     iv. Government's Objections to Defendant's CIPA

20    Section 5 & governmenfs CIPA Section 6(a) filing: Three weeks after

21    Defendant's CIPA Section 5 notice.


22                     v. Defendant's Reply in CIPA Section 5 and Response


23    to government's CIPA Section 6(a): Two weeks after government's CIPA


24    Section 6 filing.

25

26

27         1 Should the government disclose new information to Defendant
      after the date Defendant's motions are due. Defendant may seek leave
28    of Court to file additional motions based on the newly provided
      information.
                                            6
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 1                     vi. Government's Response to Defendant's Motions:

 2    September 16, 2024.

 3                     vii. Defendant's Reply to Government''s Response:


 4    September 30, 2024.

 5                     viii. CIPA Section 6(c) Filings: TBD - if

 6   necessary.

 7                     ix. Motions in Limine: November 1, 2024.


 8                     x. Responses to Motions in Limine: November 15, 2024.


 9                     xi. Joint Proposed Jury Instructions and Verdict Form,


10    Joint Statement of the Case & Proposed Voir Dire: November 18, 2024.


11                b. Hearing Schedule:


12                     i. CIPA Section 4 Hearing: TBD - if necessary.


13                     ii. CIPA Section 6 Hearing: TBD (October, 2024).

14                     iii. Hearing on Defendant's Motions: TBD (October,


15    2024).

16                     iv. Pretrial Conference & Hearing on Motions in Llmlne


17    (if necessary): November 25, 2024.


18         7. For purposes of computing the date under the Speedy Trial


19    Act by which defendant's trial must commence, the parties agree that


20    the time period of April 12, 2024 to December 2, 2024, inclusive,

21    should be excluded pursuant to 18 U.S.C. §§ 3161 (h) (7) (A), (h) (7) (B) (i)

22    and (h) (7) (B) (iv) , because the delay results from a continuance granted

23    by the Court at defendant's request, without government objection, on


24    the basis of the Court's finding that: (i) the ends of justice served

25    by the continuance outweigh the best interest of the public and

26    defendant in a speedy trial; (ii) failure to grant the continuance

27    would be likely to make a continuation of the proceeding impossible,

28    or result in a miscarriage of justice; and (iii) failure to grant the

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 1    continuance would unreasonably deny defendant continuity of counsel

 2    and would deny defense counsel the reasonable time necessary for

 3    effective preparation, taking into account the exercise of due


 4    diligence.

 5         8. In addition, the parties agree that the time period of

 6    February 15, 2024 to February 26, 2024, inclusive, should be excluded

 7   pursuant to 18 U.S.C. §§ 3161(h)(E) & (F), because it constitutes a

      delay "resulting from any proceeding relating to the transfer of a case

 9    or the removal of any defendant from another district under the Federal


10    Rules of Criminal Procedure" and "resulting from transportation of any


11    defendant from another district."

12         9. Lastly, the parties agree that the time period of March 15,

13    2024 to March 19, 2024, inclusive, should be excluded pursuant to 18

14    U.S.C. § 3161(h)(1)(D), because it constitutes a delay resulting from

15    a pretrial motion, from the filing of the motion through the prompt

16    resolution of the motion.


17         10. Nothing in this stipulation shall preclude a finding that

18    other provisions of the Speedy Trial Act dictate that additional time

19   periods be excluded from the period within which trial must commence.


20   Moreover, the same provisions and/or other provisions of the Speedy


21    Trial Act may in the future authorize the exclusion of additional time

22    periods from the period within which trial must commence.


23         IT IS SO STIPULATED.

24

25

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 1    Dated: April 12, 2024 Respectfully submitted,

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 6                                       Senior Assistant Special Counsel

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                                         Assistant Spec.i.al Counsel
 8

 9
                                         CHRISTOPHER M. RIGALI
10                                       Assistant Special Counsel

11                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
12

13         I am defendant Alexnader Smirnov's attorney. I have 'carefully

14    discussed every part, of this stipulat.iQn and the continuance of the

1.5   trial date. with my client. I have fully informed my .client of his

16    Speedy Trial rights. To my knowledge, my client understands those

17    rights and agrees to waive them. I believe that my client's decision

18    to give up the right to be brought to trial earlier than December 2,

19    2024 is ajL-iinformed and voluntary one,

20

21
           ^Z/^ „„„ Z^4 ^€?
      DA^KZ ./CB^SNOFF, ESQ.
      At<65rney f^fr Defendant
22

23

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